
81 P.3d 875 (2003)
119 Wash.App. 478
TEAMSTERS, CHAUFFEURS, WAREHOUSE AND HELPERS UNION LOCAL NO. 313, Appellants,
v.
DEPARTMENT OF CORRECTIONS, STATE OF WASHINGTON, Department of Personnel, State of Washington, Department of Financial Management, State of Washington, agencies, and Joseph Lehman, Doug Tanabe, and Marty Brown, in their official capacities, Respondents.
No. 29521-1-II.
Court of Appeals of Washington, Division 2.
November 12, 2003.
Publication Ordered December 23, 2003.
*876 Spencer Nathan Thal, Teamsters Local 117, Anne Elizabeth Senter, Rinehart &amp; Robblee PLLP, Seattle, for Appellants.
Lawrence W Paulsen, Seattle, for Respondents.
MORGAN, P.J.
Teamsters Local No. 313 (the Union) sued the Departments of Personnel, Financial Management, and Corrections for not properly adopting salary schedules that reflect prevailing wage rates. The trial court granted the defendants' motion for summary judgment. We affirm, addressing each department separately.
We first address the Department of Personnel (DOP). RCW 41.06.150 and RCW 41.06.160 require DOP to adopt and recommend to the governor and the director of financial management salary schedules that reflect prevailing wage rates. Whatever schedules DOP adopts are "subject to approval" by the director of financial management, by the governor (because the governor ultimately controls what the director of financial management sends to the legislature), and ultimately by the legislature itself.[1] The record in this case shows, so clearly that reasonable minds could not differ, that DOP adopted and forwarded to the director of financial management, the governor, and the legislature recommended salary schedules, including "applied survey salary ranges,"[2] that compared the salaries of state employees with prevailing wage rates. These salary schedules included and thus "reflected" prevailing wage rates, just as the law requires. DOP did not breach any duty, and the trial court properly dismissed it as a defendant.
We next address the Department of Financial Management (OFM). It has statutory authority to approve salary schedules "in accordance with [RCW 43.88.]"[3] The Union has not shown that OFM deviated from that authority. OFM did not breach any duty, and the trial court properly dismissed it as a defendant.
We next address the Department of Corrections (DOC). As the Union acknowledges, DOC can pay only those salaries that the legislature has chosen to fund. The Union has not shown, or even argued, that DOC is paying salaries different from those the legislature has chosen to fund. DOC did not breach any duty, and the trial properly dismissed it as a defendant.
The Union's real assertion is that one or more of the defendants must not only adopt and recommend, but also implement, a salary schedule that reflects prevailing wage rates. In our view, however, the implementing body is the legislature and not any of the defendant departments. Accordingly, we find no error.
Affirmed.
We concur: BRIDGEWATER and ARMSTRONG, JJ.
NOTES
[1]  RCW 41.06.150(14) (formerly RCW 41.06.150(17)).
[2]  Br. of Resp't at 10.
[3]  RCW 41.06.150(14) (formerly RCW 41.06.150(17)).

